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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRIC'I‘ OF
TENNESSEE
WES'I’ERN DIVISION

 

CHARLESTON SHIPP
PLAINTIFF

vs. NO: 2:10~Cv-02598-STA-dkv

VISIONS SPORTS BAR 8c GRILL, INC.,
MARIA LOPEZ, IVIIKE FURFIK,
THE CI'I'Y OF MEMPHIS, TENNESSEE,
JIMMY HUDSON, ALKI KING,
NOEL JACKSON, and JULIAN

DEFENDANTS

 

IVIOTION TO AIVIEND COMPLAINT

 

COIVIES NOW THE P]aintiif pursuant to Rule 15 Of the Federal Rules Of Civil
Procedure moves the Court to Amend the Iristant Complaint to the form attached as
Exhibit “A" attached herewith

WHEREFORE PREMISES CONSIDERED, the Plairltiff requests the Court to
authorize his to Amerid his complaint to the form attached as Exhibit A herewith

Respectfuily submitted,

[S[DRAYTON D. BERKLEY
DRAYTON D. BERKLEY, ESO. (022601)

The Busirlessrrien's Club

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And

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CERTIFICATE OF SERVICE
The undersigned hereby certifies a copy of the foregoing has been served upon
counsel for the City of Memphis the motion as follows:

Mr, Zayid A. Saleern
Assistant City Attorney

125 'North i\/Iain Ste Roorn 336
Mernphis, TN 38103

Via EC‘F

Mr. l\/Iike Murfik

Individually and d/b/a Club Envy
4069 Larnar Avenue

I\£[ernphis, TN 38118

Via US Mail

Visions Sports Bar and Grili, Inc
Individually and d/b/a Ciub Erivy
4069 Lamar Avenue

Meinphis, 'I'N 38118

Via US l\/iail

This the 26th day of January 201 1.

/s/ Dravton D. Berkiev
DRAYTON D. BERI{LEY, ESO.

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